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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

IRA D. SOCOL,

Plaintiff

Case No. 3:18cv00090

ALBEMARLE COUNTY SCHOOL BOARD
and

MATTHEW S. HAAS, individually and as Superintendent
of Albemarle County Public Schools,

Defendants.

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PLAINTIFF’S UNOPPOSED MOTION FOR CONTINUANCE

Plaintiff Ira David Socol (“Mr. Socol”), by counsel, respectfully moves this Court for the
continuance of the trial presently scheduled for July 28-31, 2020. Mr. Socol seeks a continuance
to allow the parties time to conclude discovery and potentially conduct mediation in the wake of
the COVID-19 pandemic. In further support of this Motion, Mr. Socol states as follows.

1. This is a civil rights action brought by Ira David Socol against the Albemarle
County School Board! and Dr. Matthew Haas (Dr. Haas”), pursuant to 42 U.S.C. § 1983, for
violations of Mr. Socol’s due process rights.

2. On September 19, 2019, this Court entered a Scheduling Order (the “Scheduling
Order’) pursuant to Federal Rule of Civil Procedure 16(b) setting this matter for trial beginning

on July 28, 2020. [ECF No. 24]

 

' The Court dismissed the Albemarle County School Board from this suit in its June 25, 2019 Order. [ECF No. 22].
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3. The Scheduling Order also set June 12, 2020 as the date by which the parties must
complete discovery. [Id.]

4. On March 12, 2020, Virginia Governor Ralph Northam declared a state of
emergency in the Commonwealth of Virginia in response to the spread of COVID-19. See
Governor Northam Declares State of Emergency, Outlines Additional Measures to Combat
COVID-19,https://www.governor.virginia.gov/newsroony/all-releases/2020/march/headline-
853537-en.html, last visited May 8, 2020.

5. On March 16, 2020, the Chief Judge of this Court issued a Standing Order
curtailing the proceedings to be heard before the Court due to the COVID-19 pandemic.

6. Moreover, in obedience of the social distancing guidelines put into place by the
Centers of Disease Control, the parties were unable to conduct mediation.

7. Due to the delay created by the COVID-19 pandemic, Mr. Socol requests a
continuance for a period to be determined by the Court for the purpose of completing discovery
and for the opportunity of mediation.

8. A continuance will ensure that the parties will have the flexibility of complying
with the evolving guidelines published by the prevailing public health authorities.

9. Counsel for Mr. Socol represents that counsel for Dr. Haas does not oppose this
Motion.

10. Mr. Socol therefore respectfully requests that the trial in this matter be continued

to an alternative date to be determined by the Court, allowing more time to complete discovery.
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WHEREFORE, Mr. Socol respectfully requests that the Court (i) grant this Motion, (ii)
reschedule the hearing in this matter to an alternative date, (iii) modify the trial deadlines
accompanying the hearing date accordingly, and (iv) enter any further relief it deems just and
proper.

Respectfully Submitted,
IRA D. SOCOL

By Counsel

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CERTIFICATE OF SERVICE
I hereby certify that on May 27, 2020, I electronically filed the foregoing paper with the
Clerk of the Court using the ECF system, which will send notification of such filing to the
attorneys registered with the ECF system.

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